                             Case 1:17-cv-00305-MW-GRJ Document 44-2 Filed 08/24/18 Page 1 of 5



Friday, August 24, 2018            4.3   finalization of reply
Thursday, August 23, 2018          6.7   continued prep. on reply brief and related research/analysis
Wednesday, August 22, 2018         3.2   beginning prep. of reply brief
Wednesday, August 22, 2018         0.1   r&r of order on reply brief
Tuesday, August 21, 2018           0.4   prep. of motion to file reply brief
Monday, August 20, 2018            0.8   r&r of defendant’s brief on attorneys’ fees and analysis of same, including law cited therein
Monday, August 6, 2018             4.3   prep. of brief and research re: same
Sunday, August 5, 2018             2.3   continued prep. and research re: brief
Friday, August 3, 2018             1.8   continued research re: brief and mootness
Wednesday, August 1, 2018          5.4   contineued prep. on brief and related research/analysis
Tuesday, July 31, 2018             4.6   continued prep of brief and related research re: attorneys’ fees
Tuesday, July 31, 2018             4.1   prep. of brief and related research
Tuesday, July 31, 2018             0.1   r&r of order from court requiring preparation of brief on issue of attorneys’ fees
Monday, July 30, 2018              2.4   research re: defendant’s claim to being prevailing party and/or right under rule 11 to sanctions
Monday, July 30, 2018              0.1   r&r of defendant’s response to brief on issue of damages
Thursday, July 26, 2018            0.9   analysis of whether declaratory judgment is proper and whether there is a “present right”
                                         research re: applicability of proposal for settlement/rule 68 offer and court’s order, including analysis of
Thursday, July 26, 2018            0.4   cases such as james v. walsh and sweat v. cars
Wednesday, July 25, 2018           1.5   prep. of supplemental memo re: damages calculations
                                         research re: whether per FLSA fees will be impacted for not winning on FMWA, including analysis of
Tuesday, July 24, 2018             2.2   proposals for settlement served and re: whether claims are intertwined to allow for all hours expended
Tuesday, July 24, 2018             1.7   continued prep/finalization of supplemental memo re: damages
Monday, July 23, 2018              1.4   prep. of supplemental memo re: damages
Monday, July 23, 2018              0.2   r&r of the court’s MFSJ orders, analysis of same
Wednesday, July 11, 2018           0.3   prep. of notice of supplemental authority
                                         review of possible supplemental authority and analysis of whether it should be filed, case law previously
Wednesday, July 11, 2018           1.8   cited by parties and briefings, and local rules about supplemental authroirty
Friday, June 22, 2018              0.2   revisions to proposed pretrial/list of exhibits
Friday, June 22, 2018              0.2   prep. of exhibit binder for pretrial conference/trial
Monday, June 18, 2018              0.3   file/email review re: settlement history
Friday, June 15, 2018              0.1   r&r of order denying oral argument
Friday, June 15, 2018              0.1   r&r of request for oral argument
Friday, June 15, 2018              0.1   prep. of email to assistant to oc with enclosed draft pretrial stip.
Friday, June 15, 2018              0.4   continued prep. of proposed pretrial stip
Thursday, June 14, 2018            0.1   prep. of reply email to oc’s assistance re: pretrial attorneys’ conference
Thursday, June 14, 2018            0.1   review of order and related file review re: proposed pretrial conference dates
Thursday, June 14, 2018            0.1   r&r of email from oc’s assistant re: settling pretrial
Monday, June 11, 2018              0.7   beginning prep. of pretrial stip.
Monday, June 11, 2018              0.1   r&r of mediation report
                            Case 1:17-cv-00305-MW-GRJ Document 44-2 Filed 08/24/18 Page 2 of 5



                                        additional research re: claim that payment of $100 moots case, including Arroyave that and Benarvides v.
Friday, June 8, 2018              0.4   Miami Atlanta Airfreight, Inc.,322 F. App'x 746, 747 (11th Cir. 2009).
Friday, June 8, 2018              0.2   review of court orders re: upcoming deadlines
Friday, June 8, 2018              1.1   attendance of mediation
Friday, June 8, 2018              0.6   meeting with client in prep. for mediation
Friday, June 8, 2018              0.5   final prep. for mediation
Wednesday, June 6, 2018           1.5   prep. of proposed settlement agreement to present at mediation
Wednesday, June 6, 2018           1.8   prep. for mediation Friday and related file review
Wednesday, June 6, 2018           0.5   calendaring of pretrial order, related file review
Tuesday, June 5, 2018             1.3   prep. of required mediation statement and related file review
Tuesday, June 5, 2018             0.1   r&r of notice of mediation
Friday, June 1, 2018              0.1   prep. of corr. to oc re: mediation
                                        continued research re: fee exposure to client per defendant’s proposals for settlement/rule 68 offers and
Thursday, May 31, 2018            1.7   caselaw such as yoder brothers 973 So. 2d 625
Wednesday, May 30, 2018           0.1   review of court orders for applicable deadlines and responsibilities
Wednesday, May 30, 2018           0.1   prep. of corr. to client re: settlement offer
                                        analysis of proposals for settlement/validity thereof including case law research re: same such as jones v.
Wednesday, May 30, 2018           1.7   united airspace, 494 f.3d 1306 and James v. Wash Depot 489 F.Supp.2d 1336
Wednesday, May 30, 2018           0.1   r&r of proposals of settlement from defendant
Wednesday, May 23, 2018           0.1   prep. of email to oc re: mediator selection
Friday, May 11, 2018              0.1   review of deadlines and status of case, prior orders
Thursday, May 3, 2018             0.4   prep. of notice of filing additional exhibits
Thursday, May 3, 2018             0.5   finalization of summary judgment response
Thursday, May 3, 2018             4.3   continued prep of sj motion response and file review/analysis of documents produced
Wednesday, May 2, 2018              3   continued work on sj motion, citation checking and drafting
Tuesday, May 1, 2018              1.2   continued prep of sj response and caselaw analysis
Monday, April 30, 2018            4.7   continued prep. of sj response
Tuesday, April 24, 2018           1.6   additional research re: SJ response/case analysis
Tuesday, April 24, 2018           2.1   continued prep. of SJ response and related research
Monday, April 23, 2018            4.2   prep. of response to defendant’s amended SJ motion and related research
Monday, April 23, 2018            0.2   r&r of defendants amended SJ motion
Wednesday, April 11, 2018         0.1   review of prior cost order and calendaring trial/discovery/mediation deadlines
Tuesday, April 10, 2018           5.6   finalization motion/editing sj mediation
Monday, April 9, 2018             1.1   checking legal citations and editing SJ motion
Monday, April 9, 2018             6.4   continued prep. of SJ motion, related reserch and analysis of facts and issues
Sunday, April 8, 2018             0.1   prep. of joint status report
Sunday, April 8, 2018             4.5   continued prep. of sj motion and related research
Saturday, April 7, 2018           3.7   prep. of SJ motion and related research
                               Case 1:17-cv-00305-MW-GRJ Document 44-2 Filed 08/24/18 Page 3 of 5



Thursday, March 15, 2018             0.1 prep. of corr. to client re: advantages/disadvantages of early mediation
                                         analysis of whether early mediation is favorable/strategic and review of case status to date - settlement
Thursday, March 15, 2018             0.5 offers and possible settlement conference benefits
Thursday, March 15, 2018             0.2 r&r of scheduling and mediation order
Friday, March 9, 2018                0.4 prep. of 2nd rtp
Friday, March 9, 2018                0.4 prep. of 2nd roggs to corporate defendant
Friday, March 9, 2018                0.4 prep. of 2nd roggs to individual defendant

Friday, March 9, 2018                0.3 r&r of RTP response and included documents; analysis of same and related file review

Friday, March 9, 2018                0.2   r&r of interrogatory response from defendant; analysis of same
Friday, March 9, 2018                0.2   r&r of RFA responses from defendant; analysis of same
Wednesday, March 7, 2018             0.2   r&r of signed reports (CMR and status report) from oc, dividing into 2 documents signing and filing
Tuesday, March 6, 2018               0.2   revising CMR and joint status report
Tuesday, March 6, 2018               0.1   r&r of email from oc re: CMR and status report changes
Monday, March 5, 2018                0.1   review of revised CMR, comparison to old
Monday, March 5, 2018                0.2   prep. of discovery status report
                                           research and regarding defendant’s claim that case is moot and whether attorney's fees are cut
Thursday, March 1, 2018              3.5   off/mooted
Thursday, March 1, 2018              0.1   prep. of email to opposing counsel re: improper tender
Thursday, March 1, 2018              0.1   corr. with client. re: settlement offer by defendant
                                           analysis of defendant’s claim that taxes make up the rest of the minimum wages due plaintiff (whether
Thursday, March 1, 2018              0.2   defendant should not have taken taxes out of entire 266.75 b/c 100 of that was uniform expense)
                                           research re: defendant’s claimed attempt to drop off sums due to plaintiff and best way to handle attorney
Wednesday, February 28, 2018         1.9   fee claim or move for judgment per Dionne v. Floormasters and related cases
Wednesday, February 28, 2018         0.2   revisions to CMR based on CMC
Wednesday, February 28, 2018         0.1   attendance by phone of CMC
Wednesday, February 28, 2018         0.3   prep. for CMC
Monday, February 26, 2018            0.2   prep. of proposed CMR
Monday, February 26, 2018            0.2   prep. of amended initial disclosures
Monday, February 26, 2018            3.2   continued prep. of sj motion and related research

Friday, February 23, 2018            2.1   prep. of motion for summary judgment including analysis of case
Thursday, February 22, 2018          0.1   r&r of initial discolors of defendant
Wednesday, February 21, 2018         0.1   phone call with client
Tuesday, February 20, 2018           0.1   prep. of response to another email, same issue
Tuesday, February 20, 2018           0.1   another email from oc, same issue
Tuesday, February 20, 2018           0.1   prep. of email to oc re: same thing
                              Case 1:17-cv-00305-MW-GRJ Document 44-2 Filed 08/24/18 Page 4 of 5



Tuesday, February 20, 2018          0.1   r&r of another email from oc re: same thing
Tuesday, February 20, 2018          0.1   prep. of yet another email to oc re: scheduling CMC/depositions
Tuesday, February 20, 2018          0.1   r&r of another email from oc re: scheduling CMC/depositions
Tuesday, February 20, 2018          0.1   prep. of reply email to oc re: CMC and deposition of plaintiff
Tuesday, February 20, 2018          0.1   r&r of another email from oc re: CMC and deposition of plaintiff
                                          research, in light of defendant’s demand for jury trial in its answer, as to whether a good faith defense is a
Tuesday, February 20, 2018            1   question for the judge or jury and 29 USC 260
Tuesday, February 20, 2018          0.1   prep. of response email to oc, again asking for the 3rd time for dates to set the CMC
Tuesday, February 20, 2018          0.1   r&r of email from oc
                                          research (based on defendant’s email re: attorneys fees) re: timeliness of unpaid minimum wages and
                                          liquidated damages under both state and federal law, finding cases such as Barkely v. Pizza Hug (M.D. Fla.,
                                          8/21/2015), 11th circuit opinion of Olson and 29 CFR 790.21(b), 132 Reid v. Solar Corp., 69 F. Supp. 626
                                          (N.D. Iowa); Mid-Continent Petroleum Corp. v. Keen, 157 F. (2d) 310, 316 (C.A. 8), Brooklyn Savings Bank v.
Monday, February 19, 2018           2.2   O’Neil, 324 U.S. 697; Rigopoulos v. Kervan, 140 F. (2d) 506 (C.A. 2)
                                          r&r of email from oc with attachments; analysis of whether attachments have any legal impact on case
Monday, February 19, 2018           1.1   and related caselaw
Tuesday, February 13, 2018          0.8   prep. of initial disclosures and related file review
Tuesday, February 13, 2018          0.2   review of ISO, including notification to filing initial disclosures requirement and related rules

Tuesday, February 13, 2018          0.3 finalization of discovery
Thursday, February 8, 2018          0.2 r&r of ISO
                                          research re: client’s exposure to fees/costs under 448.08, etc. and whether that statute applies to an
Wednesday, February 8, 2018         1.8   action brought per 448.110 (see Kubiak v. SW Cowboy, Inc., Dist. Court, MD Florida 2017)
Wednesday, February 7, 2018           1   prep. of RFA to defendant and related file review
Wednesday, February 7, 2018         1.1   prep. of first rtp
Wednesday, February 7, 2018         1.2   prep. of first roggs
                                          r&r and analysis of defendants’ answer and numerous affirmative defenses; related research re: defenses
Wednesday, February 7, 2018         1.3   pled such as attorneys fees under f.s. 448.08 (apparently inapplicable)
                                          research re: amount of notice necessary per Fla. stat. Sec. 448.110(6); caselaw on issue in norther district
Thursday, February 1, 2018          0.7   and whether any have been brought specially under the constitution and the statute
Wednesday, January 31, 2018         0.1   prep. email to client re: settlement
Tuesday, January 30, 2018           0.1   r&r of order denying MTD as moot
Monday, January 29, 2018            0.4   prep. of response to SJ motion
Monday, January 29, 2018            1.1   continued prep. of amended complaint taking into consideration good case law (Polycarp)
                                          continued research re: bad law cited by defendant and whether caselaw is actually superseded and/or
Monday, January 29, 2018            1.2   other cases are superseded
Monday, January 29, 2018              1   prep. of amended complaint
                               Case 1:17-cv-00305-MW-GRJ Document 44-2 Filed 08/24/18 Page 5 of 5



                                         analysis of SJ motion and related research regarding viability of same, whether law is valid and chances of
Monday, January 29, 2018             1.5 losing

Monday, January 29, 2018             0.2 r&r of summary judgment motion/motion to dismiss and analysis of same, along with attached declaration
                                         follow up research re: uniforms and Field Operations Handbook §30c12(a) in light of information obtained
Thursday, January 18, 2018           0.3 re: handbook
Thursday, January 18, 2018           0.1 prep. of corr. to client re: settlement/facts of case

Friday, January 12, 2018             0.4   further research into Martin v. U.S. and related caselaw re: timing of entitlement to liquidated damages
Friday, January 12, 2018             0.1   r&r of order on extension
Thursday, January 11, 2018           0.2   prep. of NOF return of service and filing same
Wednesday, January 10, 2018          0.1   r&r of NOA from counsel for defendants
                                           finalization of complaint and attachments and additional related research re: FLSA coverage and individual
Friday, December 15, 2017            1.5   liability
Wednesday, December 13, 2017         2.7   review of notes from client to refine/edit complaint for uniform issue/timing of payments
Tuesday, December 12, 2017           1.1   research re: when payment under FLSA is due
Tuesday, December 12, 2017           0.2   prep. of civil cover sheet
Tuesday, December 12, 2017           0.2   prep. of summons
Tuesday, December 12, 2017           1.1   research re: individual liability and application of that to individuals working for defendant
Tuesday, December 12, 2017           0.4   revision of complaint to add state minimum wage claim also
                                           research re: defendant’s belated payment of $100 and whether that cures flsa violation for uniform and
Tuesday, December 12, 2017           1.3   other regulations relating to the uniforms
Tuesday, December 12, 2017           1.4   prep. of initial rough draft of complaint
                                           research re: applicability of FLSA to defendant and defendant’s possible defenses to deduction of uniform
Tuesday, December 12, 2017           2.2   costs
Monday, November 27, 2017            0.2   email chain corr. with mike trojano re: details of claim
Wednesday, November 15, 2017         0.2   prep. of due diligence letter to defendant
Thursday, May 25, 2017               0.1   prep. of email to client re: presuit demands and nature of demands already made for money owed
Tuesday, May 9, 2017                 0.1   prep. of email to client re: another meeting to go over facts/case

Wednesday, February 8, 2017          2.6   research re: potential defendants, application of FLSA, apparent coverage and other publicly available facts
Wednesday, February 8, 2017          0.1   prep. of follow up email re: employee handbook
Wednesday, February 8, 2017          0.1   r&r of email from client with facts
Wednesday, February 8, 2017          0.2   email chain with client re: details of case, facts and presuit notice provided by client already
Wednesday, January 25, 2017          0.9   initial meeting with client
                                   162.3
